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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Gina Cora
     Craig T. Cagney
 3   Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7   Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              gina.cora@davispolk.com
 9            craig.cagney@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
12
     Menlo Park, California 94025
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email: micah.block@davispolk.com

15
     Attorneys for Plaintiffs WhatsApp LLC and
16   Meta Platforms, Inc.

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION

20                                      )
      WHATSAPP LLC and                  )           Case No. 4:19-cv-07123-PJH
21    META PLATFORMS, INC.,             )
                                        )
22                    Plaintiffs,       )           [PROPOSED] ORDER GRANTING
                                        )           ADMINISTRATIVE MOTION FOR
23           v.                         )           LEAVE TO FILE REPLY IN SUPPORT
                                        )           OF PLAINTIFFS’ ADMINISTRATIVE
24    NSO GROUP TECHNOLOGIES LIMITED )              MOTION TO ENLARGE PLAINTIFFS’
      and Q CYBER TECHNOLOGIES LIMITED, )           TIME TO FILE DISCOVERY-
25                                      )           RELATED MOTIONS UNDER CIVIL
                      Defendants.       )           LOCAL RULE 37-3 (DKT NO. 388)
26                                      )
                                        )
27                                      )           Ctrm: 3
                                        )           Judge: Hon. Phyllis J. Hamilton
28                                      )
                                        )
      Case 4:19-cv-07123-PJH          Document 392-3         Filed 09/24/24      Page 2 of 2




 1          Having considered the Administrative Motion of Plaintiffs WhatsApp LLC and Meta Plat-

 2   forms, Inc. (“Plaintiffs”) for leave to file a reply in support of Plaintiffs’ administrative motion to

 3   enlarge their time to file discovery-related motions under Civil Local Rule 37-3, the Motion is hereby

 4   GRANTED.

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      Dated:
 8
                                                                Honorable Phyllis J. Hamilton
 9                                                               United States District Judge

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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF AD-
     MINISTRATIVE MOTION TO ENLARGE TIME TO FILE DISCOVERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
